
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-07-00078-CV


______________________________




JACK GEORGE FELTMAN, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the Sixth Judicial District Court


Lamar County, Texas


Trial Court No. 21395




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Chief Justice Morriss



MEMORANDUM OPINION



	Appellant, Jack George Feltman, filed a notice of appeal June 15, 2007, from the trial court's
denial of his motion for reimbursement entered May 21, 2007. 

	The trial court's denial of this motion does not constitute a final, appealable order.  Unless
otherwise statutorily authorized, an appeal may be made only from a final judgment.  See Tex. Civ.
Prac. &amp; Rem. Code Ann. § 51.012 (Vernon 1997), §&nbsp;51.014 (Vernon Supp. 2006).  

	Further, even if we were to deem Feltman's notice of appeal an appeal from the trial court's
order to withdraw funds from inmate account, signed November 9, 2006, according to Rule 26.1 of
the Texas Rules of Appellate Procedure, Feltman had thirty days after the day that order was signed
to file a notice of appeal.  See Tex. R. App. P. 26.1.   

	Under either scenario, we have no jurisdiction over this appeal.  Accordingly, we dismiss this
appeal for want of jurisdiction.


							Josh R. Morriss, III

							Chief Justice


Date Submitted:	July 2, 2007

Date Decided:		July 3, 2007



P="BR1"&gt;


